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 3                            UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
 4
        VICTOR SERAFIN QUINONES,                    Case No. 3:19-CV-0120-MMD-CLB
 5
              Plaintiff,                            ORDER SETTING MANDATORY
 6                                                  TELEPHONIC CASE MANAGEMENT
        v.                                          CONFERENCE
 7
        ROMEO ARANAS, et al.,
 8
              Defendants.
 9

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11           The Court has now screened Plaintiff's complaint pursuant to 28 U.S.C. §

12 1915A(a) and ordered the case to proceed. In order to ensure the just, speedy, and

13 cost-effective resolution of this action, the court orders the parties attend a mandatory

14 telephonic case management conference as described more fully below.

15           Following the mandatory telephonic case management conference, the court will

16 issue a full scheduling order following the scheduling conference, setting out additional

17 dates related to discovery and the litigation. No discovery may proceed until the court

18 enters a full scheduling order following the mandatory telephonic scheduling

19 conference.

20 I.         MANDATORY TELEPHONIC CASE MANAGEMENT CONFERENCE

21           A mandatory telephonic case management conference will be held on Monday,

22 March 22, 2021 at 10:00 a.m. To join the conference, counsel for the defendants shall

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 1 dial the toll−free telephone number 877-336-1829, the access code is 2809752, and the

 2 security code is 19120.      The Attorney General’s Office shall make the necessary
 3 arrangements for the plaintiff’s telephonic appearance and shall advise the deputy court

 4 clerk of the telephone number at which the plaintiff can be reached for this hearing. The

 5 parties should be available for one hour, although the case management conference

 6 will likely take less time. The parties shall be prepared to informally discuss the following

 7 issues:

 8         A.    A brief statement of the parties' claims and/or defenses;
 9         B.    The location of potentially relevant documents;
10         C.    Discovery each party intends to take, if any, in addition to the discovery
11 ordered above;

12         D.    A timeline for the scheduling of discovery;
13         E.    Any options or methods for the streamlining discovery;
14         F.    Whether any party intends to challenge the issue of exhaustion;
15         G.    Whether any party intends to use expert witnesses;
16         H.    Whether each party would consent to magistrate judge jurisdiction; and,
17         I.    Any immediate or ongoing issues or requests for injunctive relief regarding
18 current incarceration that could require the court's immediate attention.

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     II.   CASE MANAGEMENT CONFERENCE STATEMENTS
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           At least one-week in advance of the case management conference, each party
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     shall file a scheduling conference statement. The case management conference
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     statement must address the issues listed above, as well as any other issues that the
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 1 parties believe would assist in the scheduling of the case. The statement should include

 2 the date that initial disclosures were served and any deficiencies in either party's

 3 disclosures. The statement must not exceed five (5) pages in length and no exhibits or

 4 attachments should be included.

 5 III.   SCHEDULING ORDER
 6        Following the case management conference, the court will issue a Scheduling
 7 Order and Discovery Plan with the benefit of the input of the parties. Once issued, the

 8 dates in the Scheduling Order and Discovery Plan shall be firm and no extension shall

 9 be given without permission from the court based on good cause shown.

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11               DATED: January 29, 2021.
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                                            _______________________________
13                                          CARLA BALDWIN
                                            UNITED STATES MAGISTRATE JUDGE
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